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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                       Chapter 11

         MATTRESS FIRM, INC., et al.,1                                Case No. 18-12241 (CSS)

                                   Debtors.                           (Joint Administration Requested)


                          DEBTORS’ SECOND OMNIBUS MOTION FOR ENTRY
                       OF AN ORDER (I) AUTHORIZING DEBTORS TO (A) REJECT
                       CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL REAL
                     PROPERTY AND (B) ABANDON CERTAIN PERSONAL PROPERTY
                  IN CONNECTION THEREWITH AND (II) GRANTING RELATED RELIEF

                       LANDLORDS RECEIVING THIS MOTION SHOULD LOCATE
                      THEIR NAMES AND LEASE(S) ON THE SCHEDULE OF LEASES
                         ATTACHED HERETO AS SCHEDULE 1 TO EXHIBIT A

                  Mattress Firm, Inc. and its affiliated debtors and debtors in possession in the above-

         captioned chapter 11 cases (collectively, the “Debtors”) submit this motion (this “Motion”),

         pursuant to sections 105(a), 362(d), 365(a), and 554(a) of title 11 of the United States Code,

         11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) and rules 6006 and 6007 of the Federal Rules

         of Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an order (the “Proposed Order”),

         substantially in the form attached hereto as Exhibit A, (i) authorizing the Debtors to (a) reject

         certain unexpired leases (including any guarantees thereof and any amendments or modifications

         thereto or assignments or subleases thereof, collectively, the “Leases”) of nonresidential real

         property located at the addresses of the Debtors’ retail stores set forth on Schedule 1 to Exhibit

         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, for which the Debtors have requested joint administration, a complete list of the Debtors and the last four
         digits of their federal tax identification numbers is not provided herein. This information may be obtained on the
         website of the Debtors’ noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for
         the Debtors.


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         A attached hereto (collectively, the “Closing Stores”), and (b) abandon certain furniture, fixtures,

         equipment and other assets at the Closing Stores (collectively, the “Remaining Property”), each

         effective as of the Rejection Date (as defined below), and (ii) granting related relief. In support

         of this Motion, the Debtors submit the Declaration of Hendré Ackermann in Support of the

         Debtors’ Chapter 11 Petitions and First Day Pleadings (the “First Day Declaration”) filed

         contemporaneously herewith and incorporated by reference. In further support of this Motion,

         the Debtors respectfully state as follows:

                               STATUS OF THE CASES AND JURISDICTION

                1.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

         petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

         Court for the District of Delaware (the “Court”). Concurrently with the filing of this Motion, the

         Debtors have requested joint administration and procedural consolidation of these chapter 11

         cases pursuant to Bankruptcy Rule 1015(b). The Debtors continue to operate their businesses

         and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

         the Bankruptcy Code. No party has requested the appointment of a trustee or examiner in these

         cases, and no statutory committee has been appointed.

                2.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the

         Amended Standing Order of Reference from the United States District Court for the District of

         Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

         U.S.C. § 157(b)(2), and the Debtors confirm their consent, pursuant to Local Rule 9013-1(f), to

         the entry of a final order or judgment by the Court in connection with this Motion if it is

         determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

         connection herewith consistent with Article III of the United States Constitution.


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                 3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                 4.      The statutory and other bases for the relief requested in this Motion are sections

         105(a), 362(d), 365(a), and 554(a) of the Bankruptcy Code and Bankruptcy Rules 6006 and

         6007.

                      THE DEBTORS’ PREPACKAGED PLAN OF REORGANIZATION

                 5.      Concurrently with this Motion, the Debtors have filed a joint prepackaged chapter

         11 plan of reorganization (the “Plan”) and a related disclosure statement (the “Disclosure

         Statement”). The Debtors have also filed a motion to schedule a combined hearing for the Court

         to consider approval of the Disclosure Statement and confirmation of the Plan. All classes of

         claims against the Debtors are unimpaired under the Plan.

                                        BACKGROUND OF THE DEBTORS

                 6.      Additional information regarding the Debtors’ business, capital structure and the

         circumstances preceding the Petition Date are set forth in the First Day Declaration.

                                                      THE LEASES

                 7.      As of the Petition Date, the Debtors operate approximately 3,230 retail stores in

         49 states.2 As a key component of their restructuring strategy, the Debtors are engaged in

         ongoing efforts to optimize their retail network. The Debtors, in consultation with their advisors,

         have analyzed store-level earnings, occupancy costs, and other data and identified certain stores

         that are underperforming or competing with other stores operated by the Debtors. By this

         Motion, the Debtors, in their reasonable business judgment, are requesting authority to reject the

         Leases of 100 stores—i.e., the Closing Stores—as of October 31, 2018, which is the date by


         2
           The Debtors’ operations also include approximately 125 franchisee-operated stores in Alaska, Montana, New
         Mexico, North Dakota, South Dakota and West Virginia, as well as certain franchised markets in Georgia, Iowa,
         Mississippi, New York, Oklahoma, South Carolina and Texas, which also operate under the Mattress Firm® brand
         name.
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         which the Debtors will have ceased operations at the Closing Stores, vacated and surrendered

         possession of the Closing Stores, and delivered the keys to the Closing Stores to the respective

         landlords (such date, with respect to each Closing Store, the “Rejection Date”).3

                 8.       The Leases provide no benefit to the Debtors’ estates. By rejecting the Leases,

         the Debtors will save approximately $1.3 million per month in rent and associated costs. Absent

         rejection, the Debtors would be obligated to continue to pay rent under the Leases even though

         the Debtors will have ceased operations at, and will no longer continue in possession of, the

         Closing Stores. Moreover, in addition to their obligations to pay rent under the Leases, the

         Debtors would also be obligated to pay certain real property taxes, utilities, insurance and similar

         charges. The Debtors have determined in their business judgment that such costs constitute a

         waste of estate assets. The cost of maintaining the Closing Stores outweighs any revenues that

         the Closing Stores currently generate or are likely to generate in the future. Moreover, given the

         obligations under the Leases and current market conditions, the Debtors have concluded, in

         consultation with their advisors, that the Leases are not marketable and are unlikely to generate

         material value for the Debtors’ estates.

                                             THE REMAINING PROPERTY

                 9.       In the ordinary course of business, the Debtors have accumulated certain

         miscellaneous assets at the Closing Stores, including certain furniture, fixtures, and equipment of

         de minimis value. The Debtors generally will remove these assets from the Closing Stores and

         transport such assets to the Debtors’ distribution centers or other stores. The Debtors have

         3
           Concurrently with the filing of this Motion, the Debtors have filed the Debtors’ First Omnibus Motion for Entry of
         an Order (I) Authorizing Debtors to (A) Reject Certain Unexpired Leases of Nonresidential Real Property and
         (B) Abandon Certain Personal Property in Connection Therewith and (II) Granting Related Relief and the Debtors’
         Third Omnibus Motion for Entry of an Order (I) Authorizing Debtors to (A) Reject Certain Unexpired Leases of
         Nonresidential Real Property and (B) Abandon Certain Personal Property in Connection Therewith and (II)
         Granting Related Relief (together with this Motion, the “Omnibus Lease Rejection Motions”), and have listed the
         landlords’ names alphabetically in accordance with Bankruptcy Rule 6006.
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         determined, however, in the exercise of their business judgment, that certain of these assets will

         be exceedingly difficult or expensive to remove or store (the “Remaining Property”).

         Accordingly, the Debtors will not realize any economic benefit by retaining the Remaining

         Property. Therefore, the Debtors are requesting authority to abandon any Remaining Property at

         the Closing Stores.

                                                    RELIEF REQUESTED

                  10.      By this Motion, the Debtors request entry of the Proposed Order, substantially in

         the form attached hereto as Exhibit A, (i) authorizing the Debtors to (a) reject the Leases set

         forth on Schedule 1 to Exhibit A attached hereto as of the Rejection Date and (b) abandon the

         Remaining Property, each effective as of the Rejection Date and (ii) granting related relief. The

         Debtors reserve all rights to modify the schedule of Leases, including by removing one or more

         Leases from Schedule 1, without prejudice to their rights to reject such Leases at a later date.4

                                                      BASIS FOR RELIEF

          I.    The Court Should Authorize the Rejection of the Leases under Section 365(a) of the
                Bankruptcy Code as a Reasonable Exercise of the Debtors’ Business Judgment.

                  11.      Section 365(a) of the Bankruptcy Code provides that a debtor, “subject to the

         court’s approval, may assume or reject any . . . executory contract or unexpired lease of the

         debtor.” 11 U.S.C. § 365(a). The purpose behind section 365(a) is “to permit the trustee or

         debtor-in-possession to use valuable property of the estate and to renounce title to and abandon

         burdensome property.”          In re Republic Airways Holdings Inc., 547 B.R. 578, 582 (Bankr.

         S.D.N.Y. 2016) (quoting Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion Pictures

         4
           The Debtors may also request authority to reject additional leases if their efforts to renegotiate the terms of such
         leases are unsuccessful. The Debtors intend to file a Motion for Entry of an Order (I) Authorizing and Approving
         Procedures to Reject Unexpired Leases of Nonresidential Real Property and (II) Granting Related Relief (the
         “Rejection Procedures Motion”). If granted, the relief requested in the Rejection Procedures Motion would not
         apply to the Leases that are the subject of the Omnibus Lease Rejection Motions and would only apply to additional
         leases that the Debtors may request authority to reject, if any.
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         Corp.), 4 F.3d 1095, 1098 (2d Cir. 1993)); see also Nat’l Labor Relations Bd. v. Bildisco &

         Bildisco (In re Bildisco), 465 U.S. 513, 528 (1984) (“[T]he authority to reject an executory

         contract is vital to the basic purpose to a Chapter 11 reorganization, because rejection can release

         the debtor’s estate from burdensome obligations that can impede a successful reorganization.”);

         In re Exide Techs., 607 F.3d 957, 967 (3d Cir. 2010) (“Courts may use § 365 to free a [debtor]

         from burdensome duties that hinder its reorganization”).

                12.     The standard applied by courts to determine whether the assumption or rejection

         of an unexpired nonresidential lease should be authorized is the “business judgment” test, which

         requires a debtor to have determined that the requested assumption or rejection would be

         beneficial to its estate. See Grp. of Institutional Inv’rs, Inc. v. Chi., Milwaukee, St. Paul & Pac.

         R.R., 318 U.S. 523, 550 (1943) (noting that “the question whether a lease should be

         rejected . . . is one of business judgment”); In re Bildisco, 682 F.2d 72, 79 (3d Cir. 1982), aff’d,

         465 U.S. 513 (“The usual test for rejection of an executory contract is simply whether rejection

         would benefit the estate, the ‘business judgment’ test.”); accord In re HQ Glob. Holdings, Inc.,

         290 B.R. 507, 511 (Bankr. D. Del. 2003).

                13.     In applying the business judgment standard, bankruptcy courts give deference to a

         debtor’s decision to assume or reject leases. See Computer Sales Int’l, Inc. v. Fed. Mogul

         Global, Inc. (In re Fed. Mogul Global, Inc.), 293 B.R. 124, 126 (D. Del. 2003) (“The business

         judgment test dictates that a court should approve a debtor’s decision to reject a contract unless

         that decision is the product of bad faith or a gross abuse of discretion”); In re Trans World

         Airlines, Inc., 261 B.R. 103, 121 (Bankr. D. Del. 2001) (“[A] debtor’s decision to reject an

         executory contract must be summarily affirmed unless it is the product of bad faith, or whim or

         caprice.”).


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                 14.    The Debtors’ rejection of the Leases is within the Debtors’ business judgment and

         will serve the best interests of their estates. As stated above, the Debtors are engaged in ongoing

         efforts to optimize their retail network and, in consultation with their advisors, have determined

         to cease operations at the Closing Stores. See First Day Declaration at Part IV(C)(1). The

         Debtors are requesting authority to reject the Leases to avoid the incurrence of any additional,

         unnecessary administrative expenses in connection with the Closing Stores. The Debtors have

         concluded that the cost of maintaining the Closing Stores outweighs any revenues that the

         Closing Stores currently generate or are likely to generate in the future, and that the costs

         associated with the Leases exceed any marginal benefits that could potentially be achieved from

         the assignment or sublease of the Leases. See First Day Declaration at Id. For the foregoing

         reasons, the Debtors believe that rejecting the Leases is a reasonable exercise of their business

         judgment and should be approved.

        II.     The Court Should Authorize the Debtors to Abandon the Remaining Property under
                Section 554(a) of the Bankruptcy Code.

                 15.    Under section 554(a) of the Bankruptcy Code, a debtor, after notice and a hearing,

         is authorized to “abandon any property of the estate that is burdensome to the estate or that is of

         inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). In abandoning property

         under section 554, “the debtor ‘need only demonstrate that [it] has exercised sound business

         judgment in making the determination to abandon.” In re Contract Research Solutions, Inc.,

         Case No. 12-11004 (KJC), 2013 Bankr. LEXIS 1784, at *11 (Bankr. D. Del. May 1, 2013). The

         right to abandon property is virtually unfettered, unless (a) abandonment of the property will

         contravene laws designed to protect public health and safety or (b) the property poses an

         imminent threat to the public’s welfare. See Midlantic Nat’l Bank v. N.J. Dep’t of Envtl. Prot.

         474 U.S. 494, 501 (1986). Neither of these limitations is relevant under the instant facts.

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                 16.     Any Remaining Property left at the Closing Stores is of inconsequential value to

         the Debtors’ estates, and the cost to the Debtors of retrieving, storing, marketing, and reselling

         the Remaining Property will exceed any realistic economic benefit that might be realized by

         retaining such property. Accordingly, the Debtors have determined, in the exercise of their

         sound business judgment, that their decision to abandon any Remaining Property will be in the

         best interests of the Debtors and their estates.

                 17.     To facilitate the Debtors’ abandonment of the Remaining Property, the Debtors

         also request authorization under section 362(d) of the Bankruptcy Code, which permits a

         modification of the automatic stay for “cause,” to the extent necessary to permit the relevant

         landlords to dispose of any Remaining Property without further notice or any liability to the

         Debtors or any third parties and without waiving any claims against the Debtors.

                                            RESERVATION OF RIGHTS

                 18.     Nothing contained in this motion or any actions taken by the Debtors pursuant to

         relief granted in the Order is intended or should be construed as: (a) an admission as to the validity,

         priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any

         other party-in-interest’s rights to dispute any particular claim on any grounds; (c) a promise or

         requirement to pay any particular claim; (d) an implication or admission that any particular claim is

         of a type specified or defined in this motion; (e) a request or authorization to assume any agreement,

         contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the

         Debtors’ or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable

         law; or (g) a concession by the Debtors or any other party-in-interest that any liens (contractual,

         common law, statutory, or otherwise) satisfied pursuant to this motion are valid and the Debtors and

         all other parties-in-interest expressly reserve their rights to contest the extent, validity, or perfection,

         or to seek avoidance of all such liens.

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                WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h) REQUIREMENTS

                19.     In addition, by this Motion, the Debtors request a waiver of any stay of the

         effectiveness of the order approving this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n

         order authorizing the use, sale, or lease of property other than cash collateral is stayed until the

         expiration of 14 days after entry of the order, unless the court orders otherwise.” FED. R. BANKR.

         P. 6004(h). As set forth above, the Debtors require immediate relief in the form of an order

         authorizing their rejection of the Leases as of the Rejection Date. Accordingly, the Debtors

         submit that ample cause exists to justify a waiver of the 14-day stay imposed by Bankruptcy

         Rule 6004(h), to the extent that it applies.

                20.     Similarly, for the reasons stated above, the Debtors request a waiver of the notice

         requirements of Bankruptcy Rule 6004(a) to the extent they are deemed applicable.

                                                        NOTICE

                21.     Notice of this Motion will be provided to (i) the landlords under the Leases;

         (ii) the U.S. Trustee; (iii) the holders of the thirty (30) largest unsecured claims against the

         Debtors on a consolidated basis; (iv) counsel to the DIP Agents; (v) counsel to the Prepetition

         ABL Agent; (vi) counsel to the Prepetition Term Loan Lender; (vii) counsel to Steinhoff

         International Holdings N.V; (viii) counsel to the exit term loan financing backstop group; (ix) the

         United States Attorney’s Office for the District of Delaware; (x) the Internal Revenue Service;

         (xi) the United States Department of Justice; and (xii) any party that has requested notice

         pursuant to Bankruptcy Rule 2002. Although Bankruptcy Rule 6007 requires the Debtors to

         serve a motion to abandon property on, among other parties, all of the Debtors’ creditors, Local

         Rule 2002-1(b) abrogates that rule. Accordingly, the Debtors submit that, in light of the nature

         of the relief requested, no other or further notice need be given.


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                WHEREFORE the Debtors respectfully request that the Court enter the Proposed Order,

         substantially in the form attached hereto, granting the relief requested herein and such other and

         any further relief as the Court may deem just and proper.



         Dated: October 5, 2018              SIDLEY AUSTIN LLP
         Wilmington, Delaware                Bojan Guzina
                                             Matthew E. Linder
                                             Blair M. Warner
                                             One South Dearborn Street
                                             Chicago, Illinois 60603
                                             Telephone: (312) 853-7000
                                             Facsimile: (312) 853-7036

                                                       -and-

                                             SIDLEY AUSTIN LLP
                                             Gabriel R. MacConaill (No. 4734)
                                             Michael Fishel
                                             555 West Fifth Street, Suite 4000
                                             Los Angeles, California 90013
                                             Telephone: (213) 896-6000
                                             Facsimile: (213) 896-6600
                                                       -and-
                                             YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                             /s/ Ashley E. Jacobs
                                             Robert S. Brady (No. 2847)
                                             Edmon L. Morton (No. 3856)
                                             Ashley E. Jacobs (No. 5635)
                                             1000 North King Street
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 571-6600
                                             Facsimile: (302) 571-1253

                                             PROPOSED ATTORNEYS FOR THE DEBTORS
                                             AND DEBTORS IN POSSESSION




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                                       Exhibit A

                                    Proposed Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Ref. Docket No. __

                        SECOND OMNIBUS ORDER (I) AUTHORIZING DEBTORS TO
                    (A) REJECT CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL
                  REAL PROPERTY AND (B) ABANDON CERTAIN PERSONAL PROPERTY
                  IN CONNECTION THEREWITH AND (II) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 of Mattress Firm, Inc. and its affiliated debtors and

         debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) for

         entry of an order (this “Order”) (i) authorizing the Debtors to (a) reject the Leases set forth on

         Schedule 1 attached hereto and (b) abandon the Remaining Property, each effective as of the

         Rejection Date and (ii) granting related relief, all as more fully set forth in the Motion; and the

         Court being able to issue a final order consistent with Article III of the United States

         Constitution; and venue of this proceeding and the Motion being proper pursuant to 28 U.S.C.

         §§ 1408 and 1409; and appropriate notice of and the opportunity for a hearing on the Motion

         having been given and it appearing that no other or further notice need be provided; and this

         Court having reviewed the Motion and having heard the statements in support of the relief

         requested therein at a hearing before this Court; and all objections, if any, to the Motion having


         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for the Debtors.
         2
          All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
         Motion.
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         been withdrawn, resolved or overruled; and the relief requested in the Motion being in the best

         interests of the Debtors’ estates, their creditors and other parties in interest; and this Court having

         determined that the legal and factual bases set forth in the Motion establish just cause for the

         relief granted herein; and after due deliberation and sufficient cause appearing therefor, it is

         HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The Debtors are authorized to reject the Leases set forth on the attached

         Schedule 1, effective as of the Rejection Date, pursuant to sections 105(a) and 365(a) of the

         Bankruptcy Code and Bankruptcy Rules 6006 and 6007.

                3.      The Debtors are authorized, but not directed, to abandon any Remaining Property

         located at the Closing Stores subject to the Leases, in the Debtors’ sole discretion, free and clear

         of all liens, claims, encumbrances and rights of third parties, with such abandonment being

         effective as of the Rejection Date. The landlords under the Leases are authorized to dispose of

         any Remaining Property without further notice or any liability to the Debtors or any third parties

         and without waiving any claims against the Debtors. The automatic stay is modified to the

         extent necessary to allow the disposition of any Remaining Property.

                4.      Within two business days after entry of this Order, the Debtors shall serve a copy

         of this Order and the attached Schedule 1 on the landlords under the Leases.

                5.      The landlords under the Leases must file a proof of claim relating to the rejection

         of such Leases, if any, by 5:00 p.m. (prevailing Eastern Time) on the date that is thirty (30) days

         after the Effective Date (as defined in the Plan). Proofs of claim and instructions for submission

         may be obtained on the website of the Debtors’ noticing and claims agent at

         http://dm.epiq.com/MattressFirm.


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                6.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

         such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority, or

         amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

         party-in-interest’s rights to dispute any particular claim on any grounds; (c) a promise or

         requirement to pay any particular claim; (d) an implication or admission that any particular claim

         is of a type specified or defined in this motion; (e) a request or authorization to assume any

         agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

         limitation of the Debtors’ or any other party-in-interest’s rights under the Bankruptcy Code or

         any other applicable law; or (g) a concession by the Debtors or any other party-in-interest that

         any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to this motion are

         valid and the Debtors and all other parties-in-interest expressly reserve their rights to contest the

         extent, validity, or perfection, or to seek avoidance of all such liens.

                7.      The Debtors do not waive any claims that they may have against any counterparty

         to the Leases, whether or not such claims arise under, are related to the rejection of, or are

         independent of the Leases.

                8.      Nothing herein shall prejudice the rights of the Debtors to argue that any of the

         Closing Store Leases were terminated prior to the Petition Date; that any claim for damages

         arising from the rejection of the Closing Store Leases is limited to the remedies available under

         any applicable termination provision of such Lease; or that any such claim is an obligation of a

         third party and not that of the Debtors or their estates.

                9.      The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b)

         because the relief granted in this Order is necessary to avoid immediate and irreparable harm to

         the Debtors’ estates.


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                10.      Notice of the Motion shall be deemed good and sufficient notice of such Motion,

         and the requirements of Bankruptcy Rule 6004(a) and the Local Rules of Bankruptcy Practice

         and Procedure of the United States Bankruptcy Court for the District of Delaware are waived by

         such notice.

                11.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

         are immediately effective and enforceable upon its entry.

                12.      The Debtors are authorized to take all actions necessary to effectuate the relief

         granted in this Order in accordance with the Motion.

                13.      Notwithstanding anything to the contrary in this Order or the Motion, any

         payment, obligations, or other relief authorized by this Order shall be subject to the terms,

         conditions, and limitations contained in the orders of this Court approving the Debtors’ entry into

         and performance under the debtor-in-possession financing documents and cash collateral use,

         including any budget in connection therewith.

                14.      This Court retains exclusive jurisdiction with respect to all matters arising from or

         related to the implementation, interpretation and enforcement of this Order.


         Dated: ____________, 2018
         Wilmington, Delaware
                                                               CHRISTOPHER S. SONTCHI
                                                               CHIEF UNITED STATES BANKRUPTCY JUDGE




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                                      Schedule 1

                                        Leases




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                                                             Schedule 11

                        COUNTERPARTY-LANDLORD AND
                                                                              DEBTOR                PROPERTY ADDRESS
                                 ADDRESS

                1.                   Joan Kevorkian                                                    467 East Shaw Ave,
                                 1207 W. Fremont Avenue                  The Sleep Train, Inc.              Fresno,
                                    Fresno, CA, 93711                                                      CA 93710

                2.      Joomis J. Grossman, Jr. Foundation, Inc.,
                         Richard A. Grossman Foundation, Inc.,
                       Robert C. Baker Foundation, Inc., and WLR                                     172 North King Street
                                  Northampton B, LLC                        Sleepy’s, LLC                  Route 5,
                           c/o Gibraltar Management Co., Inc.                                       Northampton, MA 01060
                                 150 White Plains Road
                                 Tarrytown, NY, 10591

                3.                 Joseph L. Tamsberg
                                                                                                     106 Percival Road, Ste
                             Jackson Square Forest Drive LLC
                                                                          Mattress Firm, Inc.                 100,
                                   1122 Barnwell Street
                                                                                                      Columbia, SC 29206
                                   Columbia, SC, 29201

                4.                   Judith Erdberg
                                                                                                      3400 North 5th Street,
                                     87 Via Navarro                         Sleepy’s, LLC
                                                                                                       Reading, PA 19605
                                  Greenbrae, CA, 94904

                5.                  KB Melrose LLC
                                                                                                      1413 W. North Ave,
                                     3271 Judy Lane                       Mattress Firm, Inc.
                                                                                                     Melrose Park, IL 60160
                                   Lafayette, CA, 94549

                6.             KFT Enterprises No. 4, LP
                               c/o KFT Management, Inc.
                                                                                                       9095 Central Ave,
                           11620 Wilshire Boulevard, Suite 420            ST San Diego, LLC
                                                                                                      Montclair, CA 91763
                                  ATTN: Mark Kaplan
                                Los Angeles, CA, 90025

                7.               Kloss Organization, LLC
                                                                                                      3231 Brunswick Pike,
                           c/o 3231 Route 1 Lawrenceville, LLC
                                                                            Sleepy’s, LLC            Lawrence Township, NJ
                                      P.O. Box 197
                                                                                                             08648
                                  Pine Brook, NJ, 07058

                8.                KMPW Center LLC
                                                                                                        349 S. Mason Rd,
                            4669 Southwest Freeway Suite 830              Mattress Firm, Inc.
                                                                                                         Katy, TX 77450
                                  Houston, TX, 77027

                9.                   KNA Partners
                                                                                                     6429 Westheimer Road,
                                    550 Waugh Drive                       Mattress Firm, Inc.
                                                                                                       Houston, TX 77057
                                   Houston, TX, 77019




         1
           The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature of
         the Lease, or as to the existence or validity of any claims held by the counterparty or counterparties to such Lease.
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                10.         LaFox Properties Partnership
                             c/o Murray Properties, Inc
                                                                                                  310 Randall Road,
                            473 Dunham Road, Suite 290                  Mattress Firm, Inc.
                                                                                                 South Elgin, IL 60177
                              ATTN: Ellen Gallagher
                               St. Charles, IL, 60174

                11.         Lake Sanford Properties, LLC
                               c/o Atlas Partners, LLC                                         695 Towne Center Blvd,
                                                                        Mattress Firm, Inc.
                           55 E. Monroe Street, Suite 2910                                        Sanford, FL 32772
                              Chicago, IL, 60603-5843

                12.      Lakeside Professional Building, LLC
                                                                                                  1970 NW Federal
                                 c/o A O R Holdings
                                                                        Mattress Firm, Inc.           Highway,
                       2381 SW Carriage Hill Terrace, Unit 103
                                                                                                   Stuart, FL 34994
                                Palm City, FL, 34990

                13.      Lawrenceville Properties 222, LLC                                    7381 Rivers Ave., Ste 102,
                              21 Katie’s Pond Road                      Mattress Firm, Inc.     North Charleston, SC
                               Princeton, NJ, 08540                                                    29406

                14.         LB & MB Investments LLC
                                 c/o Skyline Seven                                              1290 Johnson Ferry Rd,
                                                                        Mattress Firm, Inc.
                      RE 800 Mt. Vernin Highway NE, Suite 425                                     Marietta, GA 30068
                                 Atlanta, GA, 30328

                15.       Leroy Dodson Investments, LLC
                            c/o Gibson Smith Realty Co.                                          1809 Sardis Road N,
                                                                          Sleepy’s, LLC
                         1100 Kenilworth Avenue, Suite 200                                       Charlotte, NC 28270
                                Charlotte, NC, 28204

                16.             Liberty Marts, LLC
                             3651 Mars Hill Road, S-100                                        4139 Fort Campbell Blvd,
                                                                        Mattress Firm, Inc.
                                ATTN: Kevin Price                                               Hopkinsville, KY 42240
                              Watkinsville, GA, 30677

                17.             Madison Nampa LLC
                                                                                               16375 N. Merchant Way
                                 141 Front Street N.                    Mattress Firm, Inc.
                                                                                                  Nampa, ID 83687
                                Issaquah, WA 98027

                18.             Mammoth Rock LLC
                                                                                               14900 N. Pima Road, Ste.
                            c/o The Terraden Corporation
                                                                        Mattress Firm, Inc.              101,
                               229 Avenue I, Suite 300
                                                                                                 Scottsdale, AZ 85260
                             Redondo Beach, CA, 90277

                19.         Manchester Commons, LLC
                                c/o G. J. Grewe, Inc.                                          14169 Manchester Road,
                          639 Gravois Bluffs Blvd., Suite D             Mattress Firm, Inc.           Suite C,
                                  ATTN: Jill Doerr                                               Ballwin, MO 63011
                                Fenton, MO, 63026



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                20.    Market Square Shopping Center LLC
                                                                                          2121 N. Clybourn Ave.,
                        c/o Palmarium Retail Management
                                                                   Mattress Firm, Inc.             A-4
                           3460 North Broadway Street
                                                                                            Chicago, IL 60614
                               Chicago, IL, 60657

                21.     Market Town Center Owner, LLC
                                                                                          2735 Town Center Blvd,
                        4400 A North Freeway, Suite 900            Mattress Firm, Inc.
                                                                                           Sugar Land, TX 77479
                              Houston, TX, 77022

                22.        McComas Associates, LLC
                          6432 Baltimore National Pike                                       7911 Belair Road,
                                                                     Sleepy’s, LLC
                           ATTN: Michael McComas                                            Baltimore, MD 21236
                             Baltimore, MD, 21228

                23.   McPherson Investment Company, LLC                                    1402 West Ehringhaus
                            421 B McArthur Drive                     Sleepy’s, LLC                 Street,
                          Elizabeth City, NC, 27909                                       Elizabeth City, NC 27909

                24.             Menard, Inc.
                             5101 Menard Drive                                               786 Randall Road,
                                                                   Mattress Firm, Inc.
                           ATTN: Properties Division                                        Algonquin, IL 60102
                            Eau Claire, WI, 54703

                25.          MF Mt. Prospect, LLC
                                                                                          2 East Rand Road Mount
                                2165 Louisa Drive
                                                                   Mattress Firm, Inc.            Prospect,
                             ATTN: Owen C. Ewing
                                                                                          Mount Prospect, IL 60056
                            Belleair Beach, FL, 33786

                26.        Mickeal L. Dahle Trust
                                                                                            2632 W. 3500 South,
                         5827 South Cove Creek Lane
                                                                   Mattress Firm, Inc.      West Valley City, UT
                        ATTN: Mickeal L. Dahle, Trustee
                                                                                                  84119
                             Murray, UT, 84107

                27.           Midland Tyrion, LLC
                           c/o Centrex Properties, Inc.                                   8204 Tryon Woods Drive,
                                                                     Sleepy’s, LLC
                            4040 Ed Drive, Suite 201                                          Cary, NC 27518
                               Raleigh, NC, 27612

                28.        Montgomery Acquisition, LP
                         c/o Wharton Realty Group, Inc.
                                                                                             1256 Millersville,
                         8 Industrial Way East, 2nd Floor            Sleepy’s, LLC
                                                                                            Lancaster, PA 17603
                              ATTN: Isaac Massry
                              Eatontown, NJ, 07724

                29.            Morrell Partners LP
                                                                                            7412 Kingston Pike,
                                P.O. Box 2568                      Mattress Firm, Inc.
                                                                                            Knoxville, TN 37919
                              Knoxville, TN, 37901




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                30.         Morton Village Realty LLC
                      c/o Phillips International Holding Corp.                                 1040 Old Country Road
                                                                          Sleepy’s LLC
                           295 Madison Ave – 2nd Floor                                          Plainview, NY 11803
                                New York, NY 10017

                31.           Murrieta Spectrum, L.P.
                                                                                               25125 Madison Ave Ste
                      c/o WestMar Property Management, Inc.
                                                                       The Sleep Train, Inc.            103,
                          41623 Margarita Road, Suite 100
                                                                                                 Murrieta, CA 92562
                               Temecula, CA, 92591

                32.       Narcoossee Acquisitions, LLC
                                                                                                 7067 Narcoosee Rd.,
                       130 South Orange Avenue, Suite 300               Mattress Firm, Inc.
                                                                                                  Orlando, FL 32822
                               Orlando, FL, 32801

                33.           Nare Woodfield LLC
                          1901 N. Roselle Rd., Suite 650                                         100B E. Golf Road,
                                                                        Mattress Firm, Inc.
                                ATTN: Savas Er                                                  Schaumburg, IL 60173
                             Schaumburg, IL, 60195

                34.             New Osimo LLC                                                  14200 SW 8th St. Suites
                                P.O. Box 450487                         Mattress Firm, Inc.        103 thru 106,
                                Miami, FL, 33129                                                  Miami, FL 33184

                35.                Nidami LLC                                                    6208A Garners Ferry
                            304 Indian Trace, Suite 507                 Mattress Firm, Inc.            Road,
                                Weston, FL, 33326                                                Columbia, SC 29209

                36.     North Baltimore Realty Associates
                          c/o Goodman Properties, Inc.                                         1619 Grant Avenue Grant
                         636 Old York Road, 2nd Floor                     Sleepy’s, LLC             Plaza, Suite 1,
                           ATTN: Bruce A. Goodman                                               Philadelphia, PA 19115
                             Jenkintown, PA, 19046

                37.          NPP Development LLC
                                One Patriot Place                                                 388 Patriot Place,
                                                                          Sleepy’s, LLC
                                ATTN: President                                                  Foxboro, MA 02035
                             Foxborough, MA, 02035

                38.        Nunes California Properties LLC
                      c/o Smith Commercial Management LLC                                       1137 S Mannheim Rd,
                                                                        Mattress Firm, Inc.
                          18640 Sutter Boulevard, Suite 300                                     Westchester, IL 60154
                            Morgan Hill, CA, 95037-8110

                39.       OCG Alpha Development, LLC
                           c/o Osborne Capital Group                                            6267 Wilson Mills Rd.,
                              7670 Tyler Boulevard                      Mattress Firm, Inc.      Highland Heights, OH
                            ATTN: Lance F. Osborne                                                      44143
                               Mentor, OH, 44060




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                40.            OJB/AJRE JV, LC
                                                                                              47020 Harry Byrd
                              c/o RecycLand LLC                    Mattress Discounters
                                                                                              Highway Suite #2,
                          8101 Glenbrook Road, Suite B              Operations LLC
                                                                                              Sterling, VA 20164
                              Bethesda, MD, 20814

                41.           One Mile West, LLLP
                                                                                           6600 Baltimore National
                          c/o Fedder Management Corp
                                                                      Sleepy’s, LLC             Pike, Suite P,
                       10096 Red Run Boulevard, Suite 300
                                                                                            Catonsville, MD 21228
                            Owings Mills, MD, 21117

                42.           Pacific Square LLC
                                                                                            4300 E. New York St. -
                         c/o Windfall Plaza Management
                                                                    Mattress Firm, Inc.            Suite A,
                           4360 East New York Street
                                                                                               Aurora, IL 60505
                               Aurora, IL, 60504

                43.            Passage Realty, Inc.
                              c/o PM Realty Group                                            19325 Gulf Freeway,
                                                                    Mattress Firm, Inc.
                       1560 West Bay Area Blvd., Suite 290                                    Webster, TX 77598
                            Friendswood, TX, 77546

                44.              Peachtree, LLC
                       620 South White Horse Pike, Suite A                                80 South Whitehorse Pike,
                                                                      Sleepy’s, LLC
                             ATTN: Michelle Lucca                                           Hammonton, NJ 08037
                             Hammonton, NJ, 08037

                45.            Pecan Retail I, LLC
                                                                                          9860 lower Buckeye Road,
                            275 S Beverly Dr, Ste 212
                                                                    Mattress Firm, Inc.          Ste F-100,
                              ATTN: Trevor Smith
                                                                                             Tolleson, AZ 85353
                             Beverly Hill, CA, 90212

                46.              Phil G. Ruffin
                                                                                              438 S. Rock Road,
                                P.O. Box 17087                      Mattress Firm, Inc.
                                                                                              Wichita, KS 67205
                               Wichita, KS, 67209

                47.        PMAT Algiers Plaza, LLC
                                                                                            4100 General DeGaulle
                             c/o Property One, Inc.
                                                                    Mattress Firm, Inc.          Dr., Ste. 1,
                        3500 N. Causeway Blvd., Ste. 600
                                                                                            New Orleans, LA 70131
                              Metairie, LA, 70002

                48.            Potomac 2017, LLC
                                                                                           217 Oak Lee Drive Suite
                            c/o Heidenberg Properties
                                                                      Sleepy’s, LLC                 24,
                               234 Closter Dock Rd
                                                                                             Ranson, WV 25438
                                Closter, NJ, 07624

                49.               PT X, LLC
                               c/o VenturePoint                                              4600 Hoffman Blvd,
                                                                    Mattress Firm, Inc.
                        4685 MacArthur Court, Suite 375                                    Hoffman Estates, IL 60173
                          Newport Beach, CA, 92660




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                50.           Quemado Partners LLC
                                                                                            14601 North Scottsdale Rd,
                               17929 N. 99th Street
                                                                      Mattress Firm, Inc.            Ste 125,
                               ATTN: Jeff Scanlon
                                                                                               Scottsdale, AZ 85254
                              Scottsdale, AZ, 85255

                51.    R.S. Shopping Center Associates LLLP
                          c/o Maryland Financial Investors           Mattress Discounters    1445 Rock Spring Road,
                         2800 Quarry Lake Drive, Suite 340            Operations LLC           Bel Air, MD 21014
                               Baltimore, MD, 21209

                52.            Ramco Gateway, LLC                                            919 Lakeland Park Center
                       31500 Northwestern Highway, Suite 300          Mattress Firm, Inc.           DR #370,
                            Farmington Hills, MI, 48334                                         Lakeland, FL 33809

                53.   Ramiro Hermosilla, Trustee of the Ramiro
                           Hermosilla Trust Dated 8/813
                                                                                               804 Interstate 45 N,
                                3121 Riddle Road                      Mattress Firm, Inc.
                                                                                                Conroe, TX 77301
                            ATTN: Ramiro Hermosilla,
                               San Jose, CA, 95117

                54.   Ravenswood Indistrual Building, LLC, dba
                                Water Tower Plaza
                        c/o Mid America Asset Management                                     1569 N. State Route 50,
                                                                      Mattress Firm, Inc.
                                  Company, Inc.                                               Bourbonnais, IL 60914
                           One Parkview Plaza, 9th Floor
                            Oakbrook Terrace, IL, 60181

                55.      Ravenwood Shopping Center LLC
                               c/o Saul Holdings LP                                            912C Taylor Avenue,
                                                                        Sleepy’s, LLC
                          7501 Wisconsin Ave, Suite 1500                                        Towson, MD 21286
                               Bethesda, MD, 20814

                56.            Regency Centers, L.P.
                          c/o Regency Centers Corporation
                                                                                             2000 N. Clybourne Ave.,
                          One Independent Drive, Suite 114            Mattress Firm, Inc.
                                                                                                Chicago, IL 60614
                             Attn: Lease Administration
                            Jacksonville, FL, 32202-5019

                57.           River Pointe Retail, Ltd.
                                                                                            20400 Southwest Freeway,
                          12651 Briar Forest Dr., Suite 300
                                                                      Mattress Firm, Inc.           Ste. 100,
                               ATTN: Cindy Creed
                                                                                              Richmond, TX 77479
                               Houston, TX, 77077

                58.            Riverstone Plaza, LLC
                                                                                                5710 Highway 6,
                                1407 Fannin Street                    Mattress Firm, Inc.
                                                                                             Missouri City, TX 77459
                                Houston, TX, 77002

                59.           Rockvale Vehicles LLC
                          c/o Wharton Realty Group, Inc.                                       35 Willowdale Drive,
                                                                        Sleepy’s, LLC
                          8 Industrial Way East, 2nd Floor                                      Lancaster, PA 17602
                               Eatontown, NJ, 07724

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                60.        Rockwall Village S/C, Ltd.
                         16475 Dallas Parkway, Suite 800                                           537 East I-30,
                                                                        Mattress Firm, Inc.
                       ATTN: Property Management – Retail                                        Rockwall, TX 75087
                              Addison, TX, 75001

                61.               Route 40 LLC
                                                                                                1170 West Patrick St,
                             15942 Shady Grove Road                       Sleepy’s, LLC
                                                                                                Frederick, MD 21703
                             Gaithersburg, MD, 20877

                62.        Roxbury Partners Tempe, LLC
                                                                                                  4455 S. Rural Rd,
                                   P.O. Box 6650                        Mattress Firm, Inc.
                                                                                                  Tempe, AZ 85282
                           Beverly Hills, CA, 90212-6650

                63.               Rt. 28 Trust
                               352C S. Broadway
                                                                                               303-C South Broadway,
                          ATTN: Corey Garabedian & Paul                 Mattress Firm, Inc.
                                                                                                  Salem, NH 03079
                                 Garabedian Jr.
                               Salem, NH, 03079

                64.        RTG Furniture Corp of Georgia
                                                                                              3045 North Dug Gap Road
                           c/o Seaman Development Corp.
                                                                        Mattress Firm, Inc.             SW,
                       400 Perimeter Center Terrace, Suite 800
                                                                                                  Dalton, GA 30720
                                 Atlanta, GA, 30346

                65.         S2 Stonebridge Associates LLC
                      c/o Stewart Commercial Management LLC                                     141 Stonebridge Plaza
                              6842 Elm Street, Suite 202                  Sleepy’s, LLC                 Ave,
                             Attn: George W. Stewart, IV                                        Richmond, VA 23225
                                 McLean, VA, 22101

                66.           Sam Holly Springs, LLC
                             c/o Suburban Management
                                                                                              7248 GB Alford Highway,
                       289 INDEPENDENCE Boulevard, Suite                  Sleepy’s, LLC
                                                                                               Holly Springs, NC 27540
                                        300
                             Virginia Beach, VA, 23462

                67.   SC MOTA Associates Limited Partnership
                              d/b/a Mall of the Americas
                          c/o SC MOTA Associates limited                                       7703 West Flager Street.,
                                     partnership                        Mattress Firm, Inc.           Ste. B,
                        340 Royall Poinciana Way, Suite 316                                       Miami, FL 33144
                                 ATTN: Greg Moross
                                Palm Beach, FL, 33480

                68.          SC Windsor Square, LLC
                                                                                                9901 E. Independence
                        340 Royal Poinciana Way, Suite 316
                                                                        Mattress Firm, Inc.             Blvd,
                               ATTN: Greg Moross
                                                                                                 Matthews, NC 28105
                              Palm Beach, FL, 33480




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                69.        Scarafoni Associates NC, Inc.
                       c/o Coldwell Banker Commercial SCP                                     8201 Market Street,
                                                                       Sleepy’s, LLC
                       1430 Commonwealth Drive, Suite 102                                    Wilmington, NC 28411
                              Wilmington, NC, 28403

                70.       Schererville Main Street, LLC
                              c/o Cloverleaf Group                                              25 US Route 41,
                                                                     Mattress Firm, Inc.
                           666 Dundee Rd., Suite 901                                          Schererville, IN 46375
                           Northbrook, IL, 60062-2735

                71.      SCT Washington Crossing, LLC
                                                                                            2907 Washington Rd. Bld
                          c/o Foundry Commercial LLC
                                                                     Mattress Firm, Inc.            4-402,
                          420 S. Orange Ave, Suite 950
                                                                                               Augusta, GA 30909
                               Orlando, FL, 32801

                72.      Shawnee Covenant Group, LLC
                                                                                            15830 Shawnee Mission
                            17000 Red Hill Avenue
                                                                     Mattress Firm, Inc.            Pkwy,
                         ATTN: Real Estate Department
                                                                                              Shawnee, KS 66217
                              Irvine, CA, 92614

                73.       Shoppes at Rivers Edge LLC                                        4335 East 82nd Street, Ste
                       1900 Avenue of the Stars, Suite 2400          Mattress Firm, Inc.              107,
                            Los Angeles, CA, 90067                                            Indianapolis, IN 46250

                74.     Shrewsbury Properties Group LLC
                                                                                           472 Shrewsbury Commons
                               47 Latimore Way
                                                                       Sleepy’s, LLC               Avenue,
                            ATTN: Louis Hubberman
                                                                                             Shrewsbury, PA 17361
                            Owings Mills, MD, 21117

                75.    Silas Creek Crossing Associates, LLC
                                                                                            3274 Silas Creek Parkway
                              c/o Zaremba Group, LLC
                                                                       Sleepy’s, LLC              Suite #33-36,
                            14600 Detroit Avenue #1500
                                                                                            Winston-Salem, NC 27103
                               Lakewood, OH, 44107

                76.   South Broadway Development Co, LLP
                        c/o Crosbie Management Services                                       10398 Reed St. 200,
                                                                     Mattress Firm, Inc.
                      2000 S. Colorado Boulevard, Suite 110                                  Westminster, CO 80021
                               Denver, CO, 80222

                77.         South Ortega Land Trust
                             c/o Sleiman Enterprises                                        6337 Roosevelt Blvd, Ste
                         1 Sleiman Parkway, Suite 270                Mattress Firm, Inc.               1,
                         ATTN: Chief Operating Officer                                       Jacksonville, FL 32244
                          Jacksonville, FL, 32216-4977

                78.       Spirit MT Broadview IL, LLC
                           c/o Spirit Realty Capital Inc.                                   7550 Broadview Village
                       16767 North Perimeter Dr, Suite 210           Mattress Firm, Inc.      Square, Ste 7600C,
                            ATTN: Portfolio Servicing                                         Broadview, IL 60155
                              Scottsdale, AZ, 85260


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                79.            STR Fund X, LLC
                                                                                          1335 S Alma School Rd,
                           3600 Birch Street, Suite 130
                                                                   Mattress Firm, Inc.           Ste 101,
                             ATTN: Lyle Scheppele
                                                                                             Mesa, AZ 85210
                           Newport Beach, CA, 92660

                80.        Surprise Investments, LLC
                          c/o Ryan Companies US, Inc.                                     2320 E. Lincoln Highway
                         50 South Tent Street, Suite 300           Mattress Firm, Inc.             #109,
                         ATTN: Property Management                                          New Lenox, IL 60451
                            Minneapolis, MN, 55403

                81.       T Peninsula LMJ VA, LLC                                          4400 Kilgore Avenue,
                        16600 Dallas Parkway, Suite 300            Mattress Firm, Inc.            #J-105
                              Dallas, TX, 75248                                           Hampton, VA 23666-2060

                82.             Tay-Ku (CR), LLC
                                                                                            1785 E. Cheyenne
                        c/o Olive Real Estate Management
                                                                                             Mountain Blvd.,
                                  Services, LLC                    Mattress Firm, Inc.
                                                                                           Colorado Springs, CO
                          102 N. Cascade Ave, Suite 250
                                                                                                  80906
                           Colorado Springs, CO, 80903

                83.              TCB-Oaks, LLC
                        c/o Newport Capital Holding, LLC                                   1600 West 16th Street
                             350 N. LaSalle, Suite 700             Mattress Firm, Inc.          Suite T23,
                            ATTN: Shannon Wofford                                           Oak Brook, IL 60523
                                Chicago, IL, 60654

                84.            Thaler Realty Corp.
                                                                                             5121 Avenue U,
                            1 Hollow Lane, Suite 107                 Sleepy’s, LLC
                                                                                            Brooklyn, NY 11234
                            Lake Success, NY, 11042

                85.      The Center at Stone Drive, LLC
                              1550 Highway 126                                           1704 E Stone Rd, Ste. 102,
                                                                   Mattress Firm, Inc.
                              ATTN: KD Moore                                                Kingsport, TN 37660
                              Bristol, TN, 37620

                86.    The Commons at Willowbrook, Inc.
                        5910 North Central Expressway                                        7592 FM1960,
                                                                   Mattress Firm, Inc.
                              Attn: Hilary Burch                                            Houston, TX 77070
                            Dallas, TX, 75231-6437

                87.         The Connie Quarre Trust
                               c/o VenturePoint                                            2405 Lincoln Highway,
                                                                   Mattress Firm, Inc.
                          4685 MacArthur Ct Suite 375                                       New Lenox, IL 60451
                           Newport Beach, CA, 92660




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                88.   The Connie Quarre Trust, date July 30,
                                     1986
                                                                                            2049 West Grand River
                               c/o Venturepoint
                                                                    Mattress Firm, Inc.           Avenue,
                         4685 MacArthur Ct., Suite 375
                                                                                              Okemos, MI 48864
                         Constance C. Moses, as Trustee
                           Newport Beach, CA, 92260

                89.   The Original Georgia Family Company,
                                                                                          7601 North Point Parkway,
                                       Inc.
                                                                    Mattress Firm, Inc.              #A,
                          4555 Mansell Road, Suite 120
                                                                                            Alpharetta, GA 30009
                              Alpharetta, GA, 30022

                90.         The TSG GRAT #6, LLC
                        c/o Gladstone Development Corp.                                       1462 Hylan Blvd,
                                                                      Sleepy’s, LLC
                              287 Bowman Avenue                                            Staten Island, NY 10305
                              Purchase, NY, 10577

                91.             The Varsity, LLC
                              1780 Ash Street, #201                                         1710 Sherman Avenue,
                                                                    Mattress Firm, Inc.
                              ATTN: Steven Rogin                                              Evanston, IL 60201
                              Northfield, IL, 60093

                92.         Third Generation, LLC
                                                                                               2326 Route 34,
                           6035 W. Gross Point Road                 Mattress Firm, Inc.
                                                                                              Oswego, IL 60543
                               Niles, IL, 60714

                93.             TMGN 121, LLC
                                                                                           5733 State Hwy 121 Ste
                                P.O. Box 795743
                                                                    Mattress Firm, Inc.             200,
                               ATTN: Ron Avneri
                                                                                            The Colony, TX 75056
                               Dallas, TX, 75379

                94.            Tom & Paul Lopes
                                                                                          243 US Highway 46 West,
                                253 Rt. 46 West                       Sleepy’s, LLC
                                                                                           Saddle Brook, NJ 07663
                             Saddlebrook, NJ, 07663

                95.     Trojan Development Associates III
                            c/o C&H Development Co                                          10340 North Scottsdale
                                43 Panoramic Way                    Mattress Firm, Inc.              Rd.,
                           ATTN: Basil Christopoulos                                         Scottsdale, AZ 85254
                            Walnut Creek, CA, 94595

                96.        TS Log Cabon-Macon, LLC                                        4696 Log Cabin Drive, Ste
                          1550 Timothy Road, Suite 203              Mattress Firm, Inc.             A,
                               Athens, GA, 30606                                              Macon, GA 31204

                97.              TSM Ventures
                                                                                              1443 S. Mason Rd,
                             301 N. Neil Street, #400               Mattress Firm, Inc.
                                                                                               Katy, TX 77450
                              Champaign, IL, 61820




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                       COUNTERPARTY-LANDLORD AND
                                                                         DEBTOR             PROPERTY ADDRESS
                                ADDRESS

                98.             Venture B.G., LLC
                         100 Painters Mill Road, Suite 900                                   3531 Washington Blvd,
                                                                       Sleepy’s, LLC
                             ATTN: General Counsel                                           Halethorpe, MD 21227
                            Owings Mills, MD, 21117

                99.           Veraz Fondo UNO, LLC
                        c/o Ciminelli Real Estate Corporation                                 5110 Library Road,
                                                                     Mattress Firm, Inc.
                             50 Fountain Plaza, Ste 500                                      Bethel Park, PA 15102
                                Buffalo, NY, 14202

                100.        W_PT Prairie Stone VII LLC
                       c/o Pine Tree Commercial Realty, LLC
                                                                                              4650 Hoffman Blvd,
                           40 Skokie Boulevard, Suite 610            Mattress Firm, Inc.
                                                                                            Hoffman Estates, IL 60192
                            ATTN: Property Management
                               Northbrook, IL, 60062




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